              Case 17-50586                    Doc 15            Filed 11/14/17 Entered 11/14/17 12:02:31                            Desc Main
                                                                   Document     Page 1 of 7
Form 3015-1 - Chapter 13 Plan

                                                         UNITED STATES BANKRUPTCY COURT
                                                              DISTRICT OF MINNESOTA
                                                                                             CHAPTER 13 PLAN-MODIFIED
 In re:
       Mark Joseph Pigman
                                                                                             Dated: November 14, 2017

                                      DEBTOR                                                 Case No. 17-50586
                                      In a joint case,
                                      debtor means debtors in this plan.


1.    DEBTOR'S PAYMENTS TO THE TRUSTEE —
      a.    As of the date of this plan, the debtor has paid the trustee $ 650.00 .
      b.    After the date of this plan, the debtor will pay the trustee $ 650.00 per Month for 59 months, beginning November 2017, for a
            total of $ 38,350.00 . The minimum plan payment length is X 36 or            60 months from the date of the initial plan payment unless all
            allowed claims are paid in a shorter time.
      c.    The debtor will also pay the trustee
      d.    The debtor will pay the trustee a total of $ 39,000.00 [line 1(a) + line 1(b) + line 1(c)].

2.    PAYMENTS BY TRUSTEE — The trustee will pay from available funds only creditors for which proof of claim have been filed. The trustee
      may collect a fee of up to 10% of plan payments, or $ 3,900.00 , [line 1(d) x .10].

3.    ADEQUATE PROTECTION PAYMENTS [§ 1326(a)(1)(C)] — The trustee will promptly pay from available funds adequate protection
      payments to creditors holding allowed claims secured by personal property, according to the following schedule, beginning in month one (1).

             Creditor                                                Monthly Payment                 Number of Months                              Total Payments
             -NONE-                                      $                                                                   $
       a.    TOTAL                                                                                                           $                                  0.00

4.    EXECUTORY CONTRACTS AND UNEXPIRED LEASES [§ 365] — The debtor assumes the following executory contracts or unexpired
      leases. Cure provisions, if any, are set forth in ¶ 7.

             Creditor                                                                                    Description of Property
       a.    Lakes Transport                                                                             Semi & Trailer Lease

5.    CLAIMS NOT IN DEFAULT — Payments on the following claims are current and the debtor will pay the payments that come due after the
      date the petition was filed directly to the creditors. The creditors will retain liens, if any.

             Creditor                                                                                    Description of Property
                                                                                                         105 West 2nd St Randall, MN 56475 Morrison
                                                                                                         County
                                                                                                         Debtor's Residence: Homestead Real Property
       a.    Seterus Inc                                                                                 Legally Described as: (See Attached Exhibit A)

6.    HOME MORTGAGES IN DEFAULT [§ 1322(b)(5) and § 1322(e)] — The trustee will cure defaults on the following claims secured only by
      a security interest in real property that is the debtor's principal residence. The debtor will pay the payments that come due after the date the
      petition was filed directly to the creditors. The creditors will retain liens. All following entries are estimates. The trustee will pay the actual
      amounts of default.

                                                                         Amount of                   Monthly     Beginning in      Number of               TOTAL
             Creditor                                                      Default                   Payment         Month #        Payments            PAYMENTS
             -NONE-                                          $                           $                                                     $
       a.    TOTAL                                                                                                                             $                 0.00

7.    CLAIMS IN DEFAULT [§ 1322 (b)(3) and (5) and § 1322(e) ] — The trustee will cure defaults on the following claims as set forth below.
      The debtor will pay for the payments that come due after the date the petition was filed directly to the creditors. The creditors will retain liens, if
      any. All following entries are estimates, except for interest rate.

                                                             Amount of   Int. rate (if                Monthly    Beginning in      Number of               TOTAL
             Creditor                                          Default   applicable)                  Payment        Month #        Payments            PAYMENTS
             -NONE-                           $                                                $                                               $
       a.    TOTAL                                                                                                                             $                 0.00



Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
              Case 17-50586                    Doc 15            Filed 11/14/17 Entered 11/14/17 12:02:31                           Desc Main
                                                                   Document     Page 2 of 7

8.    OTHER SECURED CLAIMS; SECURED CLAIM AMOUNT IN PLAN CONTROLS [§ 1325(a)(5)] — The trustee will pay, on account
      of the following allowed secured claims, the amount set forth in the "Total Payments" column, below. The creditors will retain liens securing the
      allowed claims until the earlier of the payment of the underlying debt determined under nonbankruptcy law, or the date of the debtor's discharge.
      NOTWITHSTANDING A CREDITOR'S PROOF OF CLAIM FILED BEFORE OR AFTER CONFIRMATION, THE AMOUNT LISTED IN
      THIS PARAGRAPH AS A CREDITOR'S SECURED CLAIM BINDS THE CREDITOR PURSUANT TO 11 U.S.C. § 1327, AND
      CONFIRMATION OF THE PLAN IS A DETERMINATION OF THE CREDITOR'S ALLOWED SECURED CLAIM.

                                                                                      Beg.                                                   (Adq.
                                                                                       in                             Pmnts on                Prot.
                                            Claim              Secured      Int.      Mo.        (Monthly   (No. of  Account of             from ¶      TOTAL
             Creditor                      Amount                Claim      Rate       #           Pmnts) x Pmnts) =     Claim +                3) = PAYMENTS
             Internal
             Revenue
       a.    Service               $ 10,045.00 $ 10,045.00                   4         1     $    185.00        60    $ 11,099.40 $          0.00 $      11,099.40
       b.    TOTAL                                                                                                                                $      11,099.40

9.    PRIORITY CLAIMS — The trustee will pay in full all claims entitled to priority under § 507, including the following. The amounts listed are
      estimates. The trustee will pay the amounts actually allowed.

                                                                          Estimated               Monthly        Beginning in     Number of                TOTAL
             Creditor                                                         Claim              Payment             Month #       Payments            PAYMENTS
       a.    Attorney Fees                                 $              3,000.00    $           375.00                    1             8 $            3,000.00
       b.    Internal Revenue Service                      $             14,805.83    $          Pro rata           Pro rata       Pro rata $           14,805.83
       c.    MN Dept of Revenue                            $                   0.00   $                                                     $                0.00
       d.    TOTAL                                                                                                                          $           17,805.83

10. SEPARATE CLASSES OF UNSECURED CREDITORS — In addition to the class of unsecured creditors specified in ¶ 11, there shall be
    separate classes of non-priority unsecured creditors described as follows: -NONE-
    The trustee will pay the allowed claims of the following creditors. All entries below are estimates.

                                                        Interest
                                                        Rate (if          Claim              Monthly       Beginning in         Number of                TOTAL
             Creditor                                     any)           Amount              Payment       Month #              Payments              PAYMENTS
             -NONE-                                                                                                                           $
       a.    TOTAL                                                                                                                            $                0.00

11. TIMELY FILED UNSECURED CREDITORS — The trustee will pay holders of nonpriority unsecured claims for which proofs of claim
    were timely filed the balance of all payments received by the trustee and not paid under ¶ 2, 3, 6, 7, 8, 9 and 10 their pro rata share of
    approximately $ 6,194.77 [line 1(d) minus lines 2, 6(a), 7(a), 8(a), 9(d) and 10(a)].
      a.    The debtor estimates that the total unsecured claims held by creditors listed in ¶ 8 are $ 0.00 .
      b.    The debtor estimates that the debtor's total unsecured claims (excluding those in ¶ 8 and ¶ 10) are $ 61,342.00 .
      c.    Total estimated unsecured claims are $ 61,342.00 [line 11(a) + line 11(b)].

12. TARDILY-FILED UNSECURED CREDITORS — All money paid by the debtor to the trustee under ¶ 1, but not distributed by the trustee
    under ¶ 2, 3, 6, 7, 8, 9, 10 or 11 will be paid to holders of nonpriority unsecured claims for which proofs of claim were tardily filed.

13. OTHER PROVISIONS —

            The debtor will timely file as and when due any and all post-petition federal income tax returns and will timely pay any
            post-petition federal income taxes. Should the debtor default on the timely filing of returns and/or payment of federal
            income taxes, the Internal Revenue Service will be entitled to an ex-parte order for dismissal of this case without
            notice or hearing on the filing of an affidavit with the Court that attests to such default and also that the Internal
            Revenue Service had mailed a letter by first class mail to the debtor and debtor’s counsel that gave notice of said
            default and a 30-day period to cure and that such a cure had not been performed.

            Internal Revenue Service: Creditor(s) will release liens upon payment of the secured portion of the creditor's claim
            and debtor's discharge.

            Claims filed as secured but for which the plan makes no express provision shall be paid as unsecured claims as set
            forth in Paragraph 11 above.

            A proof of claim may be filed by the Internal Revenue Service (IRS) for a claim against the debtor(s) for taxes that
            become payable to the IRS post-petition, limited to only the tax year for which the bankruptcy case was filed. The
            trustee shall pay such claim as submitted as funds are available pursuant to 11 U.S.C. Statute 1305.



Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                            Best Case Bankruptcy
              Case 17-50586                    Doc 15            Filed 11/14/17 Entered 11/14/17 12:02:31        Desc Main
                                                                   Document     Page 3 of 7

            The debtor shall send the Trustee each year during the Chapter 13 Plan, copies of his/her federal and state income
            tax returns at the time they are filed. If the debtor receives a refund from the federal taxing agency but owes the state
            taxing agency (or vice-versa), the debtor will net the two out and pay the trustee the amount over $1,200 for a single
            filer, or $2,000 for a joint filer (not including any Earned Income Credit or Working Family Credit). Any additional
            amounts shall be turned over to the Chapter 13 trustee as additional plan payments.

            Late filed claims are subject to objection per 11 U.S.C. §502(b)(9).

14. SUMMARY OF PAYMENTS —

       Trustee's Fee [Line 2]                                                                     $                   3,900.00
       Home Mortgage Defaults [Line 6(a)]                                                         $                       0.00
       Claims in Default [Line 7(a)]                                                              $                       0.00
       Other Secured Claims [Line 8(b)]                                                           $                  11,099.40
       Priority Claims [Line 9(d)]                                                                $                  17,805.83
       Separate Classes [Line 10(a)]                                                              $                       0.00
       Unsecured Creditors [Line 11]                                                              $                   6,194.77
       TOTAL [must equal Line 1(d)]                                                               $                  39,000.00
Insert Name, Address, Telephone and License Number of Debtor's Attorney:
William P. Kain 143005
Kain & Scott, PA
13 7th Avenue South
St. Cloud, MN 56301
320-252-0330
143005
                                                                                   Signed   /s/ Mark Joseph Pigman
                                                                                            Mark Joseph Pigman
                                                                                            DEBTOR




Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                    Best Case Bankruptcy
  Case 17-50586       Doc 15     Filed 11/14/17 Entered 11/14/17 12:02:31       Desc Main
                                   Document     Page 4 of 7


                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF MINNESOTA


In re:                                                            Bkty. Case No: 17-50586

Mark Joseph Pigman,

                Debtor.



                          NOTICE OF CONFIRMATION HEARING


         PLEASE TAKE NOTICE that the Confirmation Hearing on the Chapter 13 Plan is

scheduled December 11, 2017 at 9:00 a.m., at the U.S. Bankruptcy Court, U.S. Courthouse,

Courtroom 2, 4th Floor, 515 West 1st Street, Duluth, Minnesota 55802.



         Dated this 14th day of November, 2017.



                                                           KAIN & SCOTT, P.A.



                                                           /e/ WILLIAM P. KAIN-#143005
                                                           Attorney for Debtor
                                                           13 Seventh Avenue South
                                                           St. Cloud, Minnesota 56301
                                                           (320) 252-0330
  Case 17-50586       Doc 15     Filed 11/14/17 Entered 11/14/17 12:02:31           Desc Main
                                   Document     Page 5 of 7


                         UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF MINNESOTA


In re:

                                                                    Bky: 17-50586
Mark Joseph Pigman,                                                 Chapter 13

               Debtor.


                         UNSWORN CERTIFICATE OF SERVICE



        I, Sonja K. Quaintance, declare under penalty of perjury that on November 14, 2017 she
caused to be served the Notice of Confirmation Hearing and Modified Chapter 13 Plan via the
CM/ECF system to those parties requesting electronic notification and upon all parties in interest
at the addresses set forth in the exhibit which is attached hereto, by first class mail.



Dated: November 14, 2017                                    /e/ Sonja K. Quaintance
                                                            Sonja K. Quaintance
                                                            Kain & Scott, P.A.
            Case 17-50586   Doc 15   Filed 11/14/17 Entered 11/14/17 12:02:31   Desc Main
                                       Document     Page 6 of 7
                                 INTERNAL REVENUE SERVICE           MN DEPT OF REVENUE
CHI ST. GABRIEL'S HEALTH
                                 CENTRALIZED INSOLVENCY             ATTN:DENISE JONES
815 2ND ST SE
                                 PO BOX 7346                        PO BOX 64447
LITTLE FALLS MN 56345
                                 PHILADELPHIA PA 19101-7346         SAINT PAUL MN 55164



                                 ROYLENE CHAMPEAUX
ONEMAIN                                                             SETERUS INC
                                 US ATTORNEY'S OFFICE
PO BOX 1010                                                         14523 SW MILLIKAN W AY ST
                                 300 S 4TH STREET SUITE 600
EVANSVILLE IN 47706                                                 BEAVERTON OR 97005
                                 MINNEAPOLIS MN 55415



SHAPIRO & ZIELKE, LLP
                                 TOM MURCH, CPA
12550 W EST FRONTAGE ROAD
                                 PO BOX 418
SUITE 200
                                 EAGLE BEND MN 56446
BURNSVILLE MN 55337
Case 17-50586   Doc 15   Filed 11/14/17 Entered 11/14/17 12:02:31   Desc Main
                           Document     Page 7 of 7
